      Case 3:20-cv-05484-TKW-MJF Document 10 Filed 08/19/20 Page 1 of 1



                                                                            Page 1 of 1

                UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION

KENT HOVIND and
PAUL HANSEN, as trustee
for Creation Science Evangelism,
      Plaintiffs,

vs.                                               Case No.: 3:20cv5484/TKW/EMT

UNITED STATES OF AMERICA, et al.,
    Defendants.
                                           /
                                      ORDER

      I hereby disqualify myself from handling any proceedings in the above-styled

case. The clerk is directed to randomly reassign this case to one of the active United

States Magistrate Judges in this district and to change the docket to reflect the

reassignment.

      DONE AND ORDERED this 19th day of August 2020.



                                 /s/ Elizabeth M. Timothy
                                 ELIZABETH M. TIMOTHY
                                 CHIEF UNITED STATES MAGISTRATE JUDGE
